 

Case 2:18-cr-00422-DJH Document 1225 Filed 08/09/21 T 12
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Elaine Garcia AUG 0 9 2021

 

 

 

CLERK US DISTRICT COURT
From: Rapp, Kevin (USAAZ) <Kevin.Rapp@us Rj GOPSTRICT OF ARIZONA
Sent: Thursday, July 22, 2021 5:58 PM gp. DEPUTY
To: Elaine Garcia
Cc: Jones, Reginald (CRM); Perimeter, Margaret (USAAZ); Kozinets,

Peter (USAAZ); Stone, Andrew (USAAZ); Boyle, Daniel (USACACQ);
pcambria_lglaw.com; Erin McCampbell Paris; Thomas H. Bienert;
Toni Thomas; Gary S. Lincenberg; Ariel A. Neuman; Gopi K.
Panchapakesan; Feder Law; bf@federlawpa.com;
david_deisenbergplc.com; joy.bertrand_gmail.com; Whitney

Bernstein
Subject: RE: Proposed additional strikes for cause
Attachments: US Resp to Add'l Hardship Strikes.pdf

CRAY-4LE- DAX-SMB

 

Ms. Garcia,

Attached are the United States’ objections to the Defendants’ proposed strikes. The United States has no objection to
this document being lodged for the record. Thank you.

Kevin M. Rapp] Assistant U.S. Attorney

Financial Crimes Section

U.S. Department of Justice | Office of the United States Attorney
40 N. Central Ave., Ste. 1800, Phoenix, AZ 85004

602.514.7609, kevin.rapp@usdoj.gov

 

 

 

From: Whitney Bernstein <wbernstein@bklwlaw.com>
Sent: Thursday, July 22, 2021 12:05 PM ih
To: Elaine Garcia <Elaine_Garcia@azd.uscourts.gov>; Rapp, Kevin (USAAZ) <KRapp @usa.doj.gov>

Cc: Jones, Reginald (CRM) <Reginald.Jones4@usdoj.gov>; Perlmeter, Margaret (USAAZ) <MPerlmeter@usa.doj.gov>;
Kozinets, Peter (USAAZ) <PKozinets@usa.doj.gov>; Stone, Andrew (USAAZ) <AStone1@usa.doj.gov>; Boyle, Daniel
(USACAC) <DBoyle @usa.doj.gov>; pcambria_Iglaw.com <pcambria@lglaw.com>; Erin McCampbell Paris
<emccampbell@lglaw.com>; Thomas H. Bienert <tbienert@bklwiaw.com>; Toni Thomas <tthomas@bklwlaw.com>;
Gary S. Lincenberg <glincenberg@birdmarella.com>; Ariel A. Neuman <aneuman@birdmarella.com>; Gopi K.
Panchapakesan <gpanchapakesan@birdmarella.com>; Feder Law <fl@federlawpa.com>; bf@federlawpa.com;
david_deisenbergplc.com <david@deisenbergplc.com>; joy.bertrand_gmail.com <joy.bertrand@gmail.com>
Subject: RE: Proposed additional strikes for cause

Hi Ms. Garcia,

 
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Below are the defense’s objections to the government's proposed strikes. We appreciate this being lodged for the
record.

© 169 -defense objection; not a genuine hardship; preference to skip jury service (q87: “I prefer to teach my
students and the following | have.”); hardship only on employer; professor at community college (the Maricopa
County Community College District, a large governmental employer); employer likely has a leave policy for jury
service; juror should not be excused at this point

e 172 -defense objection; not a genuine hardship; preference to skip jury service (q87: “The reason |! would

prefer not to serve as a juror in this case is because of my career.”); hardship only to employer; planned vacation

only accounts for one day of trial and can be accommodated; juror should not be excused at this point

657 —no defense objection

927 — believe this juror was already excused

1373 — no defense objection

1537 — no defense objection

1254 — no defense objection

e 1647 —-no defense objection

e 1913-—defense objection; not a genuine hardship; hardship for employer; employer is public school system;
employer likely has a leave policy for jury service; juror’s leave from school can easily be accommodated with a
substitute teacher; juror should not be excused at this point

® 1928-—-no defense objection

e 1981-no defense objection

Thank you,

Whitney

Whitney Z. Bernstein | Partner
Bienert Katzman Littrell Williams LLP

 

From: Elaine Garcia <Elaine Garcia@azd.uscourts.gov>

Sent: Thursday, July 22, 2021 11:05 AM

To: Rapp, Kevin (USAAZ) <Kevin.Ra usdoj.gov>

Cc: Jones, Reginald (CRM) <Reginald.Jones4 @usdoj.gov>; Perlmeter, Margaret (USAAZ)
<Margaret.Perlmeter@usdoj.gov>; Kozinets, Peter (USAAZ) <Peter.Kozinets@usdoj.gov>; Stone, Andrew (USAAZ)
<Andrew.Stone@usdoj.gov>; Boyle, Daniel (USACAC) <Daniel.Boyle2 @usdoj.gov>; pcambria_Iglaw.com
<pcambria@lglaw.com>; Erin McCampbell Paris <emccampbell@lglaw.com>; Whitney Bernstein

<wbernstein@bklwlaw.com>; Thomas H. Bienert <tbienert@bklwlaw.com>; Toni Thomas <tthomas@bkiwlaw.com>;
Gary S. Lincenberg <glincenberg@birdmarella.com>; Ariel A. Neuman <aneuman@birdmarella.com>; Gopi K.

Panchapakesan <gpanchapakesan@birdmarella.com>; Feder Law <fi@federlawpa.com>; bf@federlawpa.com;

david_deisenbergplc.com <david@deisenbergpic.com>; joy.bertrand_gmail.com <joy.bertrand@gmail.com>
Subject: RE: Proposed additional strikes for cause

Are there any objections by the defendants ??

Elaine Garcia, Courtroom Depa’

District Judge Susan M. Brnovi

United States District Court, District of Arizona
602-322-7223

 

 
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From: Rapp, Kevin (USAAZ) <Kevin.Ra usdoj.gov>

Sent: Wednesday, July 21, 2021 5:51 PM

To: Elaine Garcia <Elaine_Garcia@azd.uscourts.gov>

Cc: Jones, Reginald (CRM) <Reginald Jones4 @usdoj.gov>; Perlmeter, Margaret (USAAZ)
<Margaret.Perlmeter@usdoj.gov>; Kozinets, Peter (USAAZ) <Peter.Kozinets@usdoj.gov>; Stone, Andrew (USAAZ)
<Andrew.Stone@usdoj.gov>; Boyle, Daniel (USACAC) <Daniel.Boyle2 @usdoj.gov>; pcambria_lglaw.com
<pcambria@Iglaw.com>; Erin McCampbell Paris <emccampbell@lglaw.com>; Whitney Bernstein

<wbernstein@bienertkatzman.com>; Thomas H., Jr. Bienert (tbienert@bklwlaw.com) <tbienert@bklwiaw.com>, Toni
Thomas <tthomas@bklwlaw.com>; Gary S. Lincenberg <glincenberg @birdmarella.com>; Ariel A. Neuman
<aneuman@birdmarella.com>; Gopi K. Panchapakesan <gpanchapakesan @birdmarella.com>; Feder Law
<fl@federlawpa.com>; bf@federlawpa.com, david_deisenbergplc.com <david@deisenbergplc.com>;
joy.bertrand_gmail.com <joy.bertrand@gmail.com>

Subject: Proposed additional strikes for cause

 

Ms. Garcia:

The government submits the following jurors should be stricken for cause based on hardship (financial, health, etc.),
inability to deliberate, unable to be impartial, or juror expresses serious concerns about sitting on this jury:

JQs within first disclosure

169: Hardship based on college professor. Sole Full time professor in her discipline and will be teaching a minimum of
200 students this fall.

172: Hardship based on combination of travel and hardship to employment position.

657: Inability to deliberate. Qs 81-85: (“i have no faith in the system” and “T don’t believe anything from anyone”) Q 87:
(“i dont think i could handle it, i get emotional about terrible things”)

927: Hardship based on mental health issues. “doesn’t want to serve on this jury due to duration of trial, unease, mental
health concerns.”

1373: Unable to be impartial, Q: 35(k)* Iam unable to be impartial”.

1537: Hardship based on financial. “only paid when working”.

Late filed JOs provided to the parties after 7/16 hearing

1254: Hardship based on pre-planned vacation and mental health issues (anxiety and depression).

1647: Hardship based on sole provider states a couple of times that he would be homeless if served.

1913: Hardship based on an elementary school teacher.

1928: Hardship (financial/mental health (severe anxiety, paranoia)), sole provider, paid vacations 10/7-12, 10/16-23.
1981: Hardship based on being self-employed, only paid if working. Inability to deliberate: Q 88 and 89: He Indicates
that religious convictions prevent him for sitting in judgment, doesn’t believe in court system.

Thanks.

Kevin M. Rapp| Assistant U.S. Attorney

Financial Crimes Section

U.S. Department of Justice | Office of the United States Attorney
40 N. Central Ave., Ste. 1800, Phoenix, AZ 85004

602.514.7609, kevin.rapp@usdoj.gov

 
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Juror | Defense Govt Obj. Government Basis for Objection
53 - Hardship/Childcare (qle: dependent child care responsibilities
with no substitute (children 1, 3, and 10 years old); q87: “I have
little ones at home that] need to take care of. I cannot leave
them with anyone else for this lengthy period of time.”)
- Cause (q87: “Also, this case may bring up negative memories
about myexperience with pornography that would be hard to
deal with”)
82 - Hardship/Health (q19: higher risk for severe illness from x Objection. Being a higher risk for
COVID “> 65 yearsold”) COVID-19 based on age alone is not a
. “ay : hardship. This juror indicated no
~ Cause (q86: The Court will instruct you on the applicable law at health or safety issues in participating
the conclusionof the case. If selected as a juror, you will take an in a trial of this length (Q21). Based
oath to follow the law, even ifyou disagree with it. Will you follow on this juror’s prior jury ex serience
the instructions and the law as it is provided to you even if you (032) dn e gov oom a heli op es follow
disagree with it? “No”) WD questi BS t hehe
p questioning to the juror’s response
to Q86 is warranted.
84 - Hardship/Health (q19: over 65 years old, immunocompromised, Xx Objection. The juror stated her
“have arterialspasms that are controlled with medication”) medical conditions are controlled
with medication. (Q19)._ This juror
indicated no health or safety issues in
participating in a trial of this length
(Q721).
112 - Hardship/Financial (q1b: “I don’t understand the choices in 1a.

 

Although I am not the sole income for the household, my
income is needed to pay my financialobligations. My employer
will not pay me for 10 weeks of missed work and I cannot be
away from my job for 10 weeks due to my workload and
responsibilities.”; q87: “I cannot be away from my job for 10
weeks, financiallyand due to my workload.”)

 

 

 

 

 
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119 - Hardship/Health/COVID (q16: “Yes, [ work at a hospital and Objection. The juror’s employment
work frequentlyin COVID units.”; q18: “Yes; I work for Banner as a health care worker with COVID-
Health in 2 COVID units providing nutrition support/management 19 units alone is not a hardship. The
(feeding tubes, diet, IV nutrition).”; q87: “Yes; We may be juror would not be exposed to
moving apartments around November. I work full timeat a COVID-19 patients if serving as a
hospital and provide essential services. I get nervous sitting juror because the juror would not be
still/quiet for long periods of time.”) reporting to work during this
time. We do not have enough
information regarding the juror’s
move in November and there may be
accommodations made for the juror’s
concerns re: nerves/sitting long
periods.
185 - Cause (q79: would not be able to deliberate “Such materials are
too strong for me. J would be very uncomfortable discussing at
this level of detail’; q80: Anything about facilitating prostitution/
money laundering that would make it difficult to be
fair/impartial? “My moral standards would interfere with my fair
and impartial judgement”; gsr: Yes; “I am a very sensitive
person. I am afraid Icould develop biases due to my moral
standards.”)
231 - Hardship/Financial (qla: “sole provider of income for household” Objection. Juror is a sole provider of
with retiredspouse/partner per 427) income for household but did not
indicate financial hardship.
(Qla). Juror did not indicate any
reason why he could not
serve. (Q87).
243 - Hardship/Health; (qlc: scheduled medical appointments “Sept 9 Objection. The Court previously

 

Oct 29”; q2:“lower back hard to sit long”; q20: reside with
someone with “chronic kidneydisease”)

 

 

indicated this juror should come in to
discuss the medical appointments.
(Transcript P13, L2-6). Juror
indicated no health or safety concerns
in serving in a trial of this length
(Q21). Accommodations could be
considered to alleviate the juror’s
concern over sitting for a long period
of time.

 

 

 
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306 - Hardship/Financial (q1a: “self-employed and only paid if
working”; q87: “I’m self-employed but more importantly, I
probably know too much about backpagesince I market online.”)

- Hardship/Health (q19: “Immunocompromised; I’ve had colitis
but had my colinremoved 30 years ago and don’t have
symptoms. I’ve had the covid vaccine.”)

- Cause (q80: Anything about facilitating prostitution/ money
laundering that would make it difficult to be fair/impartial?
“Yes; To Be fair to the defendants, Iknow what backpage was
used for — prostitution.”; q46 “I work in online marketing and
I’m very familiar with backpage.com and the prostitution which
happened through the website. It will be difficult to unlearn
those facts because I followed the closure of the site.”; q89: “I
probably know too much about backpage since I market online
not sure that would be fair to defendents. . . .”)

413 - Hardship/ Work (987: “I support several executives on a day to Objection. The government
day basis for thelast 10 years, they would have no support if] respectfully submits that additional
was not here. Job is too complex to train someone to take over inquiry is warranted regarding the
while I would be away. This would be very inconvenient for potential impact of jury service on the
myself and my organization.”) . juror’s employment. Juror does not

- Cause (q79: Will you be able to deliberate/discuss topics of a indicate a quay Ge alse wartente d
sexual nature? “No; I don’t like this at all.”) regarding whether the prospective

juror could deliberate.

420 - Hardship/Childcare (q87: ; “I work full time and manage a team at Objection. The government
Arizona Game and Fish. Missing this much work would respectfully submits that additional
negatively impact production schedules and many projects that inquiry is warranted regarding the
are all public facing and a requirement of myrole. In addition, I potential impact of jury service on the
would have to enroll my first grader in after-school daycareif I juror’s employment. Juror does not
were to serve since, he rides the bus, and I would not want him to indicate a financial hardship. A
be alone at home after school. Thank you for your further inquiry is warrante
consideration.”) regarding what time after school care

is required,

507 - Hardship/Health (q19: “immunocompromised, had breast cancer 6 Objection. A further inquiry is

 

years ago and still on chemo pills”; q20: resides with
*immunocompromised husband hada heart attack 2 years ago and
on medication for it.”)

 

 

warranted given the dated medical
conditions of both the prospective
juror and her husband.

 

 

 
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519 - Hardship/Health (q19: higher risk for severe illness from COVID Objection. The government
“severe obesity (BMI >40)”; q20: reside with someone over 65/at respectfully submits that a further
higher risk for severeillness from COVID “moderate to severe inquiry is warranted regarding health
asthma; severe obesity (BMI >40); q21: Health/safety concerns concerns. Prospective juror does not
about being a juror? “Yes; My main concem is tomake sure my indicate that health concerns would
partner is protected from COVID-19 given that he and I both have prevent her from sitting on jury.
underlying health concerns. We are both fully vaccinated and
continue to practice mask use and quarantining as much as
possibie.”)
607 - Hardship/Student (q1d: student attending classes during the trial Objection. The government
dates withschedule provided) respectfully submits that the
prospective juror does not indicate
any hardship to sitting on this jury. A
further inquiry is warranted as to
whether there are alternative times
for classes.
657 - Hardship/Financial (1a: sole provider of income for household)
- Hardship/Health (q19: higher risk for severe illness from
COVID “diabetes,high blood pressure”)
- Cause (q79: “I do not want to participate in this”; q87 “I
don’t think I couldhandle it, I get emotional about terrible
things”)
658 ~ Hardship/Dependent Care (q87: “My 86 year old mother is in Objection. The government

 

poor health andlives in Tucson. I want to be available to her.”)

 

 

respectfully submits that additional
inquiry is warranted regarding the
juror’s answers to questions 1 (no)
and 87, which do not appear to
involve live-in dependent care.

 

 

 
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663

- Hardship/Travel/Work (q1b: “planned trip to Utah for father’s
70th birthday on10/20 [Wednesday]. Plans not yet finalized”;
qlf: Other Hardship: “Yes; Hold a management level position at
a public company. Will be significant challengeto fill in my day
to day responsibilities including payroll, invoice approving etc.”,
q87: “The time commitment is significant and will add
significant pressures at currently employer will likely be required
to work nights andweekends in order to keep update with day to
day responsibilities”)

Objection. The government -
respectfully submits that additional
inquiry is warranted; the juror has a
single, not-yet-finalized trip on one
trial day, and it is not clear whether
jury service would involve financial
hardship, see answers to questions 1
and 87.

 

793

- Hardship/Work (ql f Other Hardship: “Yes; | am currently the IT
Director forthe Arizona Bankruptcy Court and part of the
emergency team to support courtservices, We are still under
orders and in Phase 2 of reopening during this trialperiod. This
would but an additional burden on my team and require someone’
else to take my place as acting Director during this extended
period”; q87 “I would be honored to serve as a Juror, however I
am in an emergency status at my court, and member and co-chair
ninth circuit ITAG so I am very stretched professional at this
time”

 

 

885

 

- Hardship/Financial (qla: “Sole provider of income for
household”; q87: “Obviously, I worry about finances and if my
employer would pay me at mycurrent rate while I served.”)

 

 

Objection. The government
respectfully submits that additional
inquiry is warranted regarding the
potential impact of jury service on the
juror’s employment, see response to
question 87.

 

 

 
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970

- Hardship/Dependent Care (qif: “Two of my kids work and go
to school. They both got their driver’s license this summer and
are still getting familiar with driving a vehicle. My husband
and I ride in the car with them when they drive. We have only
one extra car for both of them to use. Once the older one starts
college this fall, she will use the car daily to attend classes after
or before workwhich will leave our other child needing a ride
from us to get to her school andwork.”)

- Cause (q79: Will you be able to deliberate/discuss topics of a
sexual nature? “No; I’m sorry. I’m not strong enough. I lose
sleep for days and am disturbed for weeks when I merely read
about such cases. If I had to actually see graphicimages I
wouldn’t be able to live normally afterwards.”; q87: “I would
not be able to see images or hear testimony of a graphic or
abusive nature and remainimpartial.”)

 

1044

- Hardship/Work (qlf “As the manager of the four-year, dual
enrollment cyber security program for our school district I
manage students/parents, curriculum, instructors, equipment,
marketing/networking etc.... I have no one else to off- load
work/appointments. This program is in its third year. We are
starting twonew classes.and a new instructor this school year.”)

~ Cause (q79: “Sitting for 10 weeks listening to the pollution of
others chosenlives makes me sick. J don’t participate and I don’t
want the reality of thosewho do to permeate my thoughts.”)

 

1163

- Hardship/Health (q19: higher risk for severe illness from COVID
“> 65 years old”; q87: “Being a shy person, the jury service itself
is a stressful and anxiety-producing event for me.”)

- Cause (q79: Will you be able to deliberate on the evidence,
inowing that it requires discussion over topics of a sexual nature?
“NOT SURE; The thoughtof it makes me sick.”)

Objection. The government
respectfully submits that additional

‘inquiry is warranted regarding

whether prospective juror can serve
and deliberate.

 

 

1231

 

- Hardship/Financial (qia: “Sole provider of income for household,
Self- employed and only paid if working”); qid: student attending
classes during thetrial dates at “7:30”; qif: “I got to work”)

 

 

 

 

 
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1254

- Hardship/Travel (q1b: paid vacation planned during trial dates
“J have a familyevent occur August 27th through August 30th
in another state”)

- Hardship/Health (q19: higher risk for severe illness from
COVID “Diabetes”;q87: “I work with another potential juror,
I have high functioning anxiety, I recently went through an
annulment so I’ve been suffering from depression, Iam
diabetic and trying to get my numbers back under control”)

- Cause (q35: “Back when I was 17 my exstepdad tried to kill
my mom and me. It was in the house I currently reside. Yes.
Every [sic] since that experience, I’ve had a hard time with
giving unbiased opinions about a lot of things and has
impacted my ability to be fair.”; a7 Every [sic] since my
experience of almostbein [sic] killed has impacted my
decision of providing unbiased opinions and also prevent me
from being fair”)

 

1373

- Hardship/Health (q21: health or safety concerns about being a
juror “Enforcement of masks in common areas inside. It doesn’t
seem like the peoplein this state understand how contagious the
new COVID variants are.”; q87: “I suffer from anxiety when in
public places”)

- Cause (q35: “I believe this would affect my ability to be
impartial.”; q86: The Court will instruct you on the applicable
law at the conclusion of the case. If selected as a juror, you will
take an oath to follow the law, even if you disagreewith it.. Will
you follow the instructions and the law as it is provided to you -
evenif you disagree with it? “No”)

 

 

1488

 

~ Hardship/Financial (q1f: “I do not have enough PTO time to cover
a 10 week leave from work. I am the sole provider of health
insurance for my husband and3 kids. Without a paid time off1
won’t be able to cover premiums.”; q87: “The onlyvreason [sic] I
would prefer not to serve on this case is that I am not able to
comfortably miss 10 weeks of work. It could ultimately lead to
financial hardship and would cause difficulties for my
employer.”)

 

 

Objection. The government
respectfully submits that additional
inquiry is warranted regarding health
insurance payments for the limited
amount of time for the jury trial and
nature of financial hardship.

 

 
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1647

~ Hardship/Financial (qla: “Sole provider of income for
household”; q87: “1 willnot be able to pay rent and end up
homeless”)

 

1850

~ Hardship/Childcare (qif: “Spouse works full time and we split
care of ourtoddler”)

Objection. The government
respectfully submits that additional
itiquiry is warranted for alternatives -
for childcare. .

 

1928

- Hardship/Financial (qla: “Sole provider of income for
household”)

- Hardship/Travel (q1b: paid vacation planned during trial dates
“Yes tickets/rooms have been purchased for both trips Best
friend’s wedding where Iam the maid of honor October 7-12 in
Las Vegas Disneyland October 16-23”)

- Hardship/Health (q3: “Severe anxiety”; q21: “I had COVID 19
and have extreme anxiety about contracting the disease again.
Both of my parents had contracted it due to me and my father was
hospitalized. I also have a severe anxiety disorder that contributes
to paranoia, I am afraid that myself and family would be put in
danger depending on the outcome of this case.”; q87: “Concerns
about my job and mental health. My anxiety makes it extremely
difficult for me to handle situations like this. I am finally in a
good state mentally where I do not feel the need to be medicated
daily. [am EXTREMELY concerned that participating in this
case would cause extreme mental distress and anxiety about the
repercussions of this case and the potentialfor danger to myself
and my loved ones. Also my role at my job is very important, my
team would struggle greatly in my absence as i [s?c] am a leader
here. I am also very concerned about missing out on huge life
events best friends wedding, a surprise trip my boyfriend planned
for my birthday which hehad to tell me about due to this case.”)

 

 

1931

 

~ Hardship?/W ork? (qlf & q87: elementary school teacher at a Title
. I school,would have to get a substitute)

 

1913(this is
misnumbered
in the
Defendants’
objections)

x

 

Objection. The government
respectfully-submits that additional
inquiry is required regarding nature
of hardship. Prospective juror does
not indicate a financial hardship.

 

 
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1981

 

- Hardship/F inancial (qla: “Self-employed and only paid if
working”)

- Hardship/Health (q20: reside with someone at higher risk for
severe illnessfrom COVID “Severe obesity (BMI > 40),
Diabetes”; q21: “I don’t feel comfortable around people even with
masks for long periods of time”; q87:“COVID-19”)

 

 

 

 

 
